914 F.2d 1492Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America;  Patsy K. Quinn, Revenue Officer,Petitioners-Appellees,v.Ralph E. DAIL, Respondent-Appellant.
    No. 90-3076.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at New Bern.  Terrence W. Boyle, District Judge.  (C/A No. MISC-89-19-4-BO).
      Ralph E. Dail, appellant pro se.
      Rudolf A. Renfer, Jr., Office of the United States Attorney, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ralph E. Dail appeals from the district court's order granting enforcement of an Internal Revenue Service summons.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Dail, C/A No. MISC-89-19-4-BO (E.D.N.C. May 10, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    